               Case 4:04-cr-40039-JPG                     Document 642 Filed 02/16/07                            Page 1 of 6                 Page ID
%A0 2458       (Rev. 06/05) Judgment in a Criminal Case
                                                                    #1507
               Sheet I




                        SOUTHERN                                    District of                                       ILLINOIS

          UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                              v.
                     JASON L. PRICE
                                                                            Case Number:            4:04CR40039-010-JPG

                                                                            USM Number: 06820-025
                                                                             Gary E. Milone, Sr.
                                                                            Defendant's Attorney
THE DEFENDANT:
gpleaded guilty to count(s)           1 and 5 of the Fourth Superseding Indictment
   pleaded nolo contendere to count(s)                                                                                     F@       a        .
   which was accepted by the court.                                                                                                              007
   was found guilty on count(s)                                                                             SOfJm ce2      U.8. D;:., b.>2             *   .
   after a plea of not guilty.                                                                                        8itt:: . .:       I:




The defendant is adjudicated guilty of these offenses:

'l'itle S1 Section                  Sature of Offense                                                              Offense Ended                           (:uunt
 21 U.S.C. 848.         ,.      ,    Ginspiracy to ~&fadrure, clnd'~d&aess with int&t to                    .,      5/30/2005.                                 IS&
                                     Distribute 500 Grams or More of a Mixture Containing Meth       -
 21 U.S.C. 841(a)(l)                 Unlawful Possession of Methamphetamine-Manuf. Chemical                         6/4/2005                                   589~s

       The defendant is sentenced as provided in pages 2 through                10             of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                  is         are dismissed on the motion of the United States.

          It i b urdered that tI!e Jefcnda~itmust notify thc IJnitcd States attorncy for thib rlt?tr~ztwithin iU d;r s o i a n ) change of n ~ m cres~ilen~.c,
                                                                                                                                                   ,
or mailing address u1itil3IItlncs. restlrutlon, costs, and spec~alasscssnieiits imposed by t h ~judgment
                                                                                                   s                  I"
                                                                                                              are fu I) p a d . 'ifordered to pay restllutton.
tllc defenrlant must noufy the coun and Un~tcrlStates artorncy ot'nlateri31 changes in econornlc arcunlstances




                                                                            Signature of Jud




                                                                             J. Phil Gilbert        ,                            District Judge
                                                                                                                                Title of Judge
                 Case 4:04-cr-40039-JPG                Document 642 Filed 02/16/07                      Page 2 of 6            Page ID
A 0 2458      (Rev. 06105) Judgment in Criminal Case
                                                                 #1508


DEFENDANT: JASON L. PRICE
                                                                                                        J u d g m e n t Page
                                                                                                                               -
                                                                                                                               2   of    10

CASE NUMBER: 4:04CR40039-010-JPG

                                                               IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

  240 months (240 months on Count 1 and 188 months on Count 5 of the Fourth Superseding Indictment). All Counts to run
  concurrent with each other


      &f The court makes the following recommendations to the Bureau of Prisons:
  That the defendant be placed in the Intensive Drug Treatment Program.



      @ The defendant is remanded to the custody of the United States Marshal
           The defendant shall surrender to the United States Marshal for this district:
                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

      0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                            BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
                 Case 4:04-cr-40039-JPG                  Document 642 Filed 02/16/07                     Page 3 of 6         Page ID
                                                                   #1509
A 0 245B      (Rev. 06105) Judgment in a Criminal Care
              Sheet 3 -Supervised Release


DEFENDANT: JASON L. PRICE
                                                                                                               -
                                                                                                            Judemenl-Paee-   - Q
                                                                                                                               4
                                                                                                                                      of        ~n
                                                                                                                                                4"



CASE NUMBER: 4:04CR40039-010-JPG
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

 10 years (10 years on Count 1 and 3 years on Count 5 of the Fourth Superseding Indictment). All Counts to run concurrent
 with each other.


     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defepdant shall s u k t to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as deternuned by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 @ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule ofJ~aymentssheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthll and complete written report within the fxst five days of
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or adpjnister any
           controlled substance or any paraphemaha related to any controlled substances, except as prescr~bedby a physlclan;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted pemsslon to do so by the protation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      ah Jlrcctrd b) the roh~tlonofficer, tht' dcfc~tiiantshall nouiy th~rdp a n l r ~of risks that may be o;casloned by the clet'cnd3nt'scr~nimal
           record or pcrsonay h~sioryor charactcr~st~c>and shall permn the probat~ouoMiucr to makc >u~.hnot~fical~ons
                                                                                                                   and to cuntirni h e
           defendant s ~ompli3ncewlth susli not~ticationrequlrcmeot
            Case 4:04-cr-40039-JPG                    Document 642 Filed 02/16/07        Page 4 of 6        Page ID
A 0 2458   (Rev. 06105) Judgment in a Criminal Case
           Sheet 3C - Supewised Release
                                                                #1510

DEFENDANT: JASON L. PRICE
                                                                                            Judgment-Page
                                                                                                            -
                                                                                                            4      of       10

CASE NUMBER: 4:04CR40039-010-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supe~ision.Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of SupeNised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence and/or participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling and/or testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.
             Case 4:04-cr-40039-JPG                   Document 642 Filed 02/16/07                          Page 5 of 6      Page ID
A 0 2458   (Kev. 06105) Judgment in a Criminal Case
           Sheet 5 -Criminal Monetary Penalties                 #1511
                                                                                                                       5
DEFENDANT: JASON L. PRICE
                                                                                                       JudgrnentPage
                                                                                                                       - of                10

CASE NUMBER: 4:04CR40039-010-JPG
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                      Assessment                                        -
                                                                        Fine                                  Restitution
TOTALS              $ 200.00                                          $ 500.00                              $ 0.00



 C] The determination of restitution is deferred until -. An Amended Judgment in a Criminal Case(A0 245C) will be entered
     after such determination.

C] The defendant must make restitution (including community restitution) to the following payees in the amount listed below
     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise /n
     the priority order or percentage payment column%elow. However, pursuant to 18
     before the United States 1s pald.
                                                                                               Js.8.
                                                                                              9 3664{), all nonfederal vlchms must be pald

 Name of Payee                                                                                 Restitution Ordered       Priority or Percentaee
               ..                                       ./:               L .   .




TOTALS                                $                       0.00              $                     0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 9 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      # the interest requirement is waived for the              fme             restitution.
           the interest requirement for the           fine           restitution is modified as follows:


 * Findings for the total amount of losses are re uired under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 199%.
A 0 2458
             Case 4:04-cr-40039-JPG
           (Rev. 06105) Judgment in a Criminal Case
                                                      Document 642 Filed 02/16/07                      Page 6 of 6          Page ID
           Sheet 6 - ~ c h e d ; l eof Payments                 #1512
                                                                                                          Judgment-Page        6     of       10
DEFENDANT: JASON L. PRICE
CASE NUMBER: 4:04CR40039-010-JPG


                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     @ Lump sum payment of $                                due immediately, balance due

                 not later than                                  , 01
                 in accordance                C,      D,           E, or         F below; 01

B          Payment to begin immediately (may he combined with               C,           D, or        F below); or

C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     @ Special instructions regarding the payment of criminal monetaly penalties:
           While on supervised release the defendant shall make monthly payments in the amount of $10.00 or ten percent
           of his net monthly income, whichever is greater, toward his fine.




Unless the court has express1 ordered otherwise, if this judgment imposes i m p r i s o n m e n t , f p t of criminal monetaly penalties is due durin
unpnsongent. All cnminafmoneta penalties, except those payments made throug                         e Federal Bureau of Prisons' Inmate ~ i n a n c i j
Respons~blhtyProgram, are made to g e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed,



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

C]    The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restltution interest, (4) fine principal,
( 5 ) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecut~onand court costs.
